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                                                        - 792 -
                               Nebraska Supreme Court Advance Sheets
                                        312 Nebraska Reports
                                    REO ENTERS. V. VILLAGE OF DORCHESTER
                                              Cite as 312 Neb. 792



                             REO Enterprises, LLC, a Nebraska limited
                              liability company, appellant, v. Village
                                of Dorchester, a Nebraska political
                                        subdivision, appellee.
                                                   ___ N.W.2d ___

                                        Filed November 4, 2022.   No. S-21-752.

                 1. Summary Judgment: Appeal and Error. An appellate court will
                    affirm a lower court’s grant of summary judgment if the pleadings
                    and admitted evidence show that there is no genuine issue as to any
                    material facts or as to the ultimate inferences that may be drawn from
                    the facts and that the moving party is entitled to judgment as a matter
                    of law.
                 2. Constitutional Law: Ordinances. The constitutionality of an ordinance
                    presents a question of law.
                 3. Judgments: Appeal and Error. An appellate court independently
                    reviews questions of law decided by a lower court.
                 4. Administrative Law: Statutes: Appeal and Error. The meaning
                    and interpretation of statutes and regulations are questions of law for
                    which an appellate court has an obligation to reach an independent
                    conclusion irrespective of the decision made by the court below.
                 5. Appeal and Error. Plain error is error plainly evident from the record
                    and of such a nature that to leave it uncorrected would result in damage
                    to the integrity, reputation, or fairness of the judicial process.
                 6. Special Legislation. A legislative act constitutes special legislation if
                    (1) it creates an arbitrary and unreasonable method of classification or
                    (2) it creates a permanently closed class.
                 7. Special Legislation: Public Policy. To be valid, a legislative clas-
                    sification must be based upon some reason of public policy, some
                    substantial difference in circumstances that would naturally suggest
                    the justice or expediency of diverse legislation regarding the objects to
                    be classified.
                                  - 793 -
           Nebraska Supreme Court Advance Sheets
                    312 Nebraska Reports
              REO ENTERS. V. VILLAGE OF DORCHESTER
                        Cite as 312 Neb. 792
 8. Special Legislation. Legislative classifications must be real and not
    illusive; they cannot be based on distinctions without a substantial
    difference.
 9. ____. A legislative body’s distinctive treatment of a class is proper if
    the class has some reasonable distinction from other subjects of a like
    general character. And that distinction must bear some reasonable rela-
    tion to the legitimate objectives and purposes of the legislative act.

  Appeal from the District Court for Saline County: Vicky L.
Johnson, Judge. Affirmed.
  Gregory C. Damman, of Blevens &amp; Damman, for appellant.
  Kelly R. Hoffschneider and Timothy J. Kubert, of
Hoffschneider Law, P.C., L.L.O., for appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
   Per Curiam.
   The Village of Dorchester, Nebraska, enacted an ordinance
providing that renters of property could receive utility services
from the village only if their landlord guaranteed that the land-
lord would pay any unpaid utility charges. REO Enterprises,
LLC (REO), an owner of rental property within the village,
filed an action seeking a declaration that the ordinance was
unenforceable for various reasons. The district court initially
granted the relief REO sought, declaring that the ordinance
violated the Equal Protection Clauses of the U.S. and Nebraska
Constitutions. In an appeal filed by the village, however, we
reversed the district court’s judgment on that question and
remanded the cause for the district court to consider REO’s
other claims. See REO Enters. v. Village of Dorchester, 306
Neb. 683, 947 N.W.2d 480 (2020) (REO I). On remand, the
district court found that the village was entitled to summary
judgment on each of REO’s other claims. The case now returns
to us, this time at the behest of REO. We find no error on the
part of the district court and therefore affirm.
                              - 794 -
          Nebraska Supreme Court Advance Sheets
                   312 Nebraska Reports
             REO ENTERS. V. VILLAGE OF DORCHESTER
                       Cite as 312 Neb. 792
                         BACKGROUND
The Ordinance.
   The village enacted the ordinance at issue in this appeal in
2017. The ordinance addresses the village’s provision of utility
services, including water, sewer, and electricity. The ordinance
requires that all residents of the village “subscribe to [the]
[v]illage utility services” and provides terms for billing, collec-
tion of bills, and discontinuance of service.
   The ordinance also sets forth the process by which persons
may apply to receive utility services. Under the ordinance,
an application for utility services must be submitted to the
village clerk, who is to require payment of “a service deposit
and tap fees for water and sewer service.” Of particular rel-
evance to this appeal, the ordinance provides the following
with respect to applications for utility services filed by rent-
ers of property: “Before a tenant’s utility application will be
accepted, the landlord shall be required to sign an owner’s
consent form and agree to pay all unpaid utility charges for
his or her property.”

REO’s Complaint.
   Several months after the ordinance was enacted, REO filed
a lawsuit against the village in which it asked the district
court to declare the ordinance unenforceable. In its complaint,
REO alleged that when one of its tenants, Ange Lara, applied
to receive utility services and paid the requested deposit, the
village clerk told her that she would not be provided with
such services until REO signed a guarantee as required by the
ordinance. According to the complaint, when REO informed
the village that it would not sign the guarantee, the village pro-
vided utility services to the property, but through an account
held by a member of REO rather than through an account
in Lara’s name. Although REO’s complaint named Lara as a
third-party defendant, nothing in our record indicates that Lara
has participated in the proceedings as a party.
                             - 795 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
            REO ENTERS. V. VILLAGE OF DORCHESTER
                      Cite as 312 Neb. 792
   REO’s complaint alleged that the ordinance was unconsti-
tutional and in violation of state and federal statutes. REO
alleged that the ordinance violated the Equal Protection Clauses
of the U.S and Nebraska Constitutions, as well as article III,
§ 18, of the Nebraska Constitution. It also alleged that the
ordinance violated the federal Equal Credit Opportunity Act,
see 15 U.S.C. § 1691 et seq. (2018), and Nebraska’s Uniform
Residential Landlord and Tenant Act, see Neb. Rev. Stat.
§§ 76-1401 to 76-1449 (Reissue 2018 &amp; Supp. 2021). REO
asked the district court to declare that the ordinance was void
and unenforceable on each of these grounds.

Summary Judgment Evidence.
   REO and the village eventually filed cross-motions for sum-
mary judgment. At the summary judgment hearing, the district
court received an affidavit from the village clerk, Gloria Riley.
In her affidavit, Riley asserted that she was responsible for
managing utility accounts for the village. Riley stated that a
previous renter of the property REO rented to Lara failed to
pay a utility bill of over $500 and that the residency of that
former tenant was unknown. She also stated that the village
“has spent substantial resources in trying to locate former
residential tenant utilities customers that have left town with
unpaid utility account obligations” and that the village had
previously used collection agencies to assist in pursuing a
recovery for these unpaid bills, but that such agencies would
charge 50 percent of the amount collected. According to Riley,
the ordinance was adopted to “further the goal of collection
by reducing the possibility that [the village] will be faced
with the administrative expenses associated with repeatedly
resorting to cumbersome and expensive foreclosure or collec-
tion proceedings.”
   The district court also received an affidavit of Lara. Lara’s
affidavit was consistent with the allegations in REO’s com-
plaint regarding the village’s response to Lara’s application
for utility services.
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
             REO ENTERS. V. VILLAGE OF DORCHESTER
                       Cite as 312 Neb. 792
Initial District Court Order
and First Appeal.
   After the hearing on the motions for summary judgment,
the district court entered an order granting summary judgment
in favor of REO. In its order, the district court found that the
ordinance violated the Equal Protection Clauses of the U.S.
and Nebraska Constitutions. It reasoned that the ordinance
treated residential owners of property and residential tenants
differently and that there was no rational relationship between
the difference in treatment and the village’s interest in collect-
ing unpaid utility bills. The district court did not address the
other grounds REO offered in support of its request that the
ordinance be declared invalid.
   The village appealed the district court’s decision, and we
reversed. We held that although the ordinance classified resi-
dential tenants and residential owners separately, the classifica-
tion was subject to and satisfied rational basis scrutiny and thus
did not violate the Equal Protection Clauses of the U.S. and
Nebraska Constitutions. We found that ensuring the collection
of utility bills was a plausible policy reason for the requirement
that renters obtain a landlord guarantee and that the differential
treatment of renters and owners was sufficiently related to the
goal of ensuring payment of utility bills so as not to render
the treatment arbitrary or irrational.

Proceedings on Remand.
   After receiving and spreading our mandate in REO I, the
district court entered an order addressing REO’s other claims.
It found that the village was entitled to summary judgment
on each of those claims and thus granted the village’s motion
for summary judgment, overruled REO’s motion for summary
judgment, and dismissed the case.
   REO timely appealed. We moved the case to our docket
on our own motion pursuant to Neb. Rev. Stat. § 24-1106(3)
(Cum. Supp. 2020).
                             - 797 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
            REO ENTERS. V. VILLAGE OF DORCHESTER
                      Cite as 312 Neb. 792
                 ASSIGNMENTS OF ERROR
   REO assigns that the district court erred by finding that
the ordinance (1) did not violate article III, § 18, of the
Nebraska Constitution, (2) did not violate the federal Equal
Credit Opportunity Act, and (3) was not void as against the
public policy of Nebraska. REO also assigns that the district
court committed plain error by finding that the village had
statutory authority to enact the ordinance.
                   STANDARD OF REVIEW
   [1] An appellate court will affirm a lower court’s grant of
summary judgment if the pleadings and admitted evidence
show that there is no genuine issue as to any material facts or
as to the ultimate inferences that may be drawn from the facts
and that the moving party is entitled to judgment as a matter of
law. D-CO, Inc. v. City of La Vista, 285 Neb. 676, 829 N.W.2d
105 (2013).
   [2,3] The constitutionality of an ordinance presents a ques-
tion of law. Dowd Grain Co. v. County of Sarpy, 291 Neb.
620, 867 N.W.2d 599 (2015). An appellate court independently
reviews questions of law decided by a lower court. Id.   [4] The meaning and interpretation of statutes and regula-
tions are questions of law for which an appellate court has
an obligation to reach an independent conclusion irrespec-
tive of the decision made by the court below. In re App. No.
P-12.32 of Black Hills Neb. Gas, 311 Neb. 813, 976 N.W.2d
152 (2022).
   [5] Plain error is error plainly evident from the record and
of such a nature that to leave it uncorrected would result in
damage to the integrity, reputation, or fairness of the judicial
process. North Star Mut. Ins. Co. v. Miller, 311 Neb. 941, 977
N.W.2d 195 (2022).
                          ANALYSIS
Special Legislation.
   REO first claims that the district court should have declared
the ordinance unenforceable on the grounds that it violates
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          Nebraska Supreme Court Advance Sheets
                   312 Nebraska Reports
             REO ENTERS. V. VILLAGE OF DORCHESTER
                       Cite as 312 Neb. 792
article III, § 18, of the Nebraska Constitution. The text of
article III, § 18, prohibits “[t]he Legislature” from “pass[ing]
local or special laws” in a set of enumerated circumstances.
The section concludes, “In all other cases where a general law
can be made applicable, no special law shall be enacted.” Id.
We have described article III, § 18, as generally prohibiting
“special legislation.” Big John’s Billiards v. State, 288 Neb.
938, 944, 852 N.W.2d 727, 734 (2014). We have said that the
special legislation prohibition applies to municipal ordinances.
See, e.g., D-CO, Inc., supra.   [6] So what exactly is it that article III, § 18, prohibits? Our
precedent holds that a legislative act constitutes special legis-
lation if (1) it creates an arbitrary and unreasonable method
of classification or (2) it creates a permanently closed class.
D-CO, Inc., supra. REO’s sole argument is that the ordinance
creates an arbitrary and unreasonable classification, so we next
turn our attention to the tests we have developed to identify
such classifications.
   [7-9] In order to withstand a special legislation challenge,
i.e., to be valid, a legislative classification must be based
upon some reason of public policy, some substantial difference
in circumstances that would naturally suggest the justice or
expediency of diverse legislation regarding the objects to be
classified. Id. Legislative classifications must be real and not
illusive; they cannot be based on distinctions without a sub-
stantial difference. Id. A legislative body’s distinctive treatment
of a class is proper if the class has some reasonable distinction
from other subjects of a like general character. Id. And that
distinction must bear some reasonable relation to the legitimate
objectives and purposes of the legislative act. Id.   REO argues that by requiring only renters’ applications for
utility services to be supported by the guarantee of a third
party, the ordinance treats renters differently than it treats
owners. And it argues that there is no substantial difference in
circumstances between renters applying for utility services and
owners doing the same that justifies the differential treatment.
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          Nebraska Supreme Court Advance Sheets
                   312 Nebraska Reports
             REO ENTERS. V. VILLAGE OF DORCHESTER
                       Cite as 312 Neb. 792
REO observes that some renters may be very creditworthy
while some owners may have very poor credit, and thus argues
that requiring only renters’ applications to be supported by a
guarantee is arbitrary.
   If the village was attempting to defend the ordinance based
on a claim about the relative creditworthiness of renters and
owners of property, REO’s argument might have some force.
But, in fact, the village does not claim that the ordinance
is justified based solely on a difference in creditworthiness
between those two groups. Instead, the village’s argument
and Riley’s affidavit focus on the time and expense associ-
ated with collecting unpaid utility bills from renters. As noted
above, Riley’s affidavit stated that the village had spent sub-
stantial resources trying to locate former renters of property
with unpaid utility bills and had resorted to using collection
agencies that would take half of any amount collected. The
ordinance’s requirement of a landlord guarantee, according to
Riley, was intended to minimize the time and expense associ-
ated with those efforts.
   We agree with the village that there is a substantial difference
in circumstances between renters and owners as to the time and
expense that are likely necessary to collect unpaid utility bills.
On this point, we find our opinion in REO I instructive. In the
course of our equal protection analysis in that case, we found
compelling the village’s assertion that “administrative and col-
lection costs associated with unpaid utility bills are more likely
to increase when seeking payment for services provided to
tenants versus residential owners.” REO I, 306 Neb. 683, 693,
947 N.W.2d 480, 488 (2020). We observed that tenants are
connected to the property through only a lease agreement and
that their connection to the property thus ceases when they
are no longer acting under the agreement, while owners are
more “tied” to the serviced property and thus provide a “static
source” that can be more easily contacted and from which
collection can be more easily pursued. Id. at 693, 694, 947
N.W.2d at 488. We also noted that a landlord guarantee could
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
             REO ENTERS. V. VILLAGE OF DORCHESTER
                       Cite as 312 Neb. 792
help the village minimize collection costs, because the guar-
antee provides another party to account for amounts due, but
concluded that “a third-party guarantee does not equally apply
to residential owners who do not have a landlord third-party
relationship and are already tied to the serviced propert y.” Id.
at 694, 947 N.W.2d at 488.
   Although the foregoing analysis was conducted in the con-
text of an equal protection challenge in REO I, we find it also
supports the conclusion that there is a substantial difference
in circumstances between renters and owners that justifies the
ordinance’s differential treatment of the two groups. We have
previously acknowledged that special legislation analysis is
similar to an equal protection analysis and that, in some cases,
both issues can be decided on the same facts. See Hug v. City
of Omaha, 275 Neb. 820, 749 N.W.2d 884 (2008). As a result,
language normally applied to an equal protection analysis is
sometimes used to help explain the reasoning employed under
a special legislation analysis. Id. That is the case here.
   We are not dissuaded from our conclusion that the ordinance
did not violate article III, § 18, by an alternative argument
raised by REO challenging the adequacy of Riley’s affidavit.
In support of this argument, REO compares Riley’s affidavit to
a commissioned study a municipality offered in defending an
ordinance regulating rental properties against a special legisla-
tion challenge in D-CO, Inc. v. City of La Vista, 285 Neb. 676,
829 N.W.2d 105 (2013). REO also contends that Riley’s affi-
davit failed to compare the resources the village had expended
pursuing unpaid utility bills of renters to unpaid utility bills
of property owners and failed to consider the effectiveness of
other means the village could have used to recover renters’
unpaid utility bills, such as requiring deposits or pursuing liens
imposed on the property.
   We disagree with REO’s contention that Riley’s affidavit
was inadequate. Although the municipality in D-CO, Inc.,
supra, relied on a commissioned study, our opinion in that
case did not require that type of evidence in every special
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         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
             REO ENTERS. V. VILLAGE OF DORCHESTER
                       Cite as 312 Neb. 792
legislation challenge. Moreover, in that case, we relied on
more than just the commissioned study to determine that there
were substantial differences in circumstances between rental
properties and owner-occupied properties that justified the
municipality’s rental property regulations. The study did not
specifically show that rental properties within the municipal-
ity were dilapidated, but we relied on evidence of complaints
the municipality received about the condition of some rental
properties and of code violations it had found in some rental
properties. This anecdotal evidence is not unlike the evidence
set forth in Riley’s affidavit.
   We also disagree with REO that the village was required
to offer evidence comparing the resources it had expended
attempting to collect unpaid utility bills from renters as opposed
to owners or show that it had considered the effectiveness of
other potential means of pursuing renters’ unpaid utility bills.
REO’s argument that this information was required overlooks
aspects of our special legislation doctrine. Even assuming the
village had also invested significant time and money in pursu-
ing unpaid utility bills associated with owner-occupied proper-
ties, our special legislation jurisprudence would not preclude it
from attempting to minimize the resources it must expend to
pursue renters’ unpaid utility bills. As we said in D-CO, Inc.,
in response to an argument that there were also maintenance
problems associated with owner-occupied properties in the
relevant municipality, government entities are “not required to
solve every problem at once.” 285 Neb. at 685, 829 N.W.2d
at 112.
   In addition, even if the village may have had other means
at its disposal to pursue renters’ unpaid utility bills, it does
not follow that the ordinance is prohibited special legisla-
tion. As we have explained, the special legislation inquiry
is focused on whether the distinctive treatment of classes is
based on a substantial difference in circumstances between
the classes that justifies the distinctive treatment. Because
we find that there was such a substantial difference here, we
                              - 802 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
             REO ENTERS. V. VILLAGE OF DORCHESTER
                       Cite as 312 Neb. 792
conclude that REO’s special legislation challenge to the ordi-
nance fails.

Equal Credit Opportunity Act.
   We next consider REO’s contention that the ordinance is
unenforceable because it violates the federal Equal Credit
Opportunity Act (ECOA). The ECOA prohibits creditors from
discriminating against applicants for credit on various bases.
See 15 U.S.C. § 1691(a). REO’s argument that the ordinance
violates the ECOA is based on a regulation promulgated to
enforce that statute. The regulation REO relies upon provides
that creditors may not generally require “the signature of an
applicant’s spouse or other person” on a credit instrument “if
the applicant qualifies under the creditor’s standards of credit-
worthiness for the amount and terms of the credit requested.”
12 C.F.R. § 1002.7(d)(1) (2021). REO contends that when a
renter applies to receive utility services from the village, he or
she is applying for credit. And because the ordinance requires
that the renter’s application be supported by the guarantee of
his or her landlord without any consideration of the renter’s
creditworthiness, REO argues that the ordinance violates the
ECOA. As we will explain, however, it is not necessary for
us to determine whether the ordinance is inconsistent with
the ECOA, because REO was not entitled to seek relief under
that act.
   REO claims that a provision of the ECOA, 15 U.S.C.
§ 1691e(c), authorized it to ask the district court to declare the
ordinance invalid. Section 1691e(c) of the ECOA provides that
“[u]pon application by an aggrieved applicant, the appropriate
United States district court or any other court of competent
jurisdiction may grant such equitable and declaratory relief as
is necessary to enforce the requirements imposed under this
subchapter.” REO focuses on the language authorizing courts
of competent jurisdiction to grant equitable and declaratory
relief, but it glosses over the fact that § 1691e(c) authorizes
only an “aggrieved applicant” to seek such relief.
                              - 803 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
             REO ENTERS. V. VILLAGE OF DORCHESTER
                       Cite as 312 Neb. 792
   The ECOA defines an “applicant” as “any person who
applies to a creditor directly for an extension, renewal, or con-
tinuation of credit, or applies to a creditor indirectly by use of
an existing credit plan for an amount exceeding a previously
established credit limit.” 15 U.S.C. § 1691a(b). For present
purposes, we will assume for the sake of argument that when
a person applies to the village to receive utility services, he
or she is requesting an extension of credit for purposes of the
ECOA. Having made this assumption, we would have no dif-
ficulty in finding that a renter seeking utility services is an
“applicant” under the ECOA. But, even with that assumption,
it is not so clear that REO is an “applicant” for purposes of
the statute.
   REO asserts that the ordinance violates the ECOA by
requiring REO to serve as a guarantor. At least two federal
courts of appeal have expressly held that, notwithstanding a
regulation of the Federal Reserve Bank providing that “the
term [applicant] includes guarantors,” see 12 C.F.R. § 202.2(e)
(2021), a guarantor is not an “applicant” under the ECOA.
The U.S. Court of Appeals for the Eighth Circuit reached that
conclusion in Hawkins v. Community Bank of Raymore, 761
F.3d 937 (8th Cir. 2014), affirmed by an equally divided court,
577 U.S. 495, 136 S. Ct. 1072, 194 L. Ed. 2d 163 (2016). It
observed that to qualify as an “applicant” under the definition
provided in the ECOA, a person must “apply” for, that is,
request, credit. It reasoned that a guarantor is not an “appli-
cant,” because a guarantor agrees to pay the debt of another in
the event of default, but does not itself request credit. As the
Eighth Circuit put it, “[a] guarantor engages in different con-
duct, receives different benefits, and exposes herself to differ-
ent legal consequences than does a credit applicant.” Hawkins,
761 F.3d at 942.
   More recently, the U.S. Court of Appeals for the Eleventh
Circuit also concluded that a guarantor was not an “applicant”
under the ECOA. See Regions Bank v. Legal Outsource PA,
936 F.3d 1184 (11th Cir. 2019). Relying on a number of legal
                              - 804 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
             REO ENTERS. V. VILLAGE OF DORCHESTER
                       Cite as 312 Neb. 792
and other dictionaries, that court concluded that the ordinary
meaning of the term “applicant” under the ECOA is “one who
requests credit to benefit himself.” Regions Bank, 936 F.3d at
1191. The Eleventh Circuit concluded that a guarantor did not
fit within this definition, explaining that “[a]lthough a guaran-
tor makes a promise related to an applicant’s request for credit,
the guaranty is not itself a request for credit, and certainly not
a request for credit for the guarantor.” Id.
    The U.S. Court of Appeals for the Seventh Circuit has also
expressed doubt about whether a guarantor qualifies as an
“applicant” under the ECOA in Moran Foods v. Mid-Atlantic
Market Development, 476 F.3d 436 (7th Cir. 2007). The court
ultimately decided that case on other grounds, but not before
observing that “there is nothing ambiguous about ‘applicant’
and no way to confuse an applicant with a guarantor.” Id.
at 441.
    Although one other federal court of appeals has concluded
that for purposes of the ECOA, “applicant” could reasonably
be construed to include a guarantor, see RL BB Acquisition v.
Bridgemill Commons Dev. Group, 754 F.3d 380 (6th Cir. 2014),
we find the reasoning of the Seventh, Eighth, and Eleventh
Circuits persuasive. A guarantor may support an application
for credit, but, in our view, a guarantor does not itself apply
for credit and is thus not an “applicant” under the plain terms
of the ECOA.
    Because REO did not qualify as an “applicant” under the
ECOA, it could not seek declaratory or equitable relief under
15 U.S.C. § 1691e(c). And, contrary to REO’s suggestion
otherwise, it could not obtain relief under the ECOA by nam-
ing Lara as a third-party defendant. As we have discussed,
§ 1691e(c) authorizes courts to grant relief to enforce the
ECOA “[u]pon application by an aggrieved applicant . . . .”
Even if Lara qualified as an “applicant” for credit under the
ECOA, she did not make an “application” to the district court
for relief. REO alone asked the district court to declare the
ordinance invalid.
                              - 805 -
         Nebraska Supreme Court Advance Sheets
                  312 Nebraska Reports
             REO ENTERS. V. VILLAGE OF DORCHESTER
                       Cite as 312 Neb. 792
   Because we find that REO was not entitled to seek relief
under the ECOA, we find no error in the district court’s entry
of summary judgment on REO’s claim that the ECOA rendered
the ordinance invalid.

Public Policy.
   Next, we address REO’s argument that the district court
erred by rejecting REO’s claim that the ordinance violated
Nebraska public policy. REO alleged in its complaint and now
argues on appeal that the ordinance “violates public policy as
established by the Nebraska Uniform Residential Landlord
[and] Tenant Act.” Brief for appellant at 12. REO focuses on
a particular provision of the Uniform Residential Landlord and
Tenant Act, § 76-1416, which generally prohibits landlords
from demanding a security deposit exceeding 1 month’s rent.
REO argues that because state law caps the amount landlords
may demand as a security deposit, the ordinance cannot create
the potential for additional liability by requiring a landlord to
provide a guarantee in support of a tenant’s application for util-
ity services.
   While REO clearly takes the position that the district court
should have declared the ordinance invalid given the statutory
limit on the amount landlords may require as a security deposit,
the precise legal theory it is relying on is less obvious. REO
claims that the ordinance is “void as against public policy.”
Brief for appellant at 26. The only case it relies on in support
of this argument is a New Jersey case that used that language
in finding a municipal ordinance unenforceable. See Economy
Enterprises, Inc. v. Township Committee, 104 N.J. Super. 373,
250 A.2d 139 (1969). REO does not, however, direct us to any
Nebraska authority holding that a municipal ordinance can be
“void as against public policy,” and we are not aware of any
such doctrine under Nebraska law.
   Municipal ordinances can of course be preempted by state
law. See State ex rel. City of Alma v. Furnas Cty. Farms, 266
Neb. 558, 667 N.W.2d 512 (2003). This can occur in three
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          Nebraska Supreme Court Advance Sheets
                   312 Nebraska Reports
             REO ENTERS. V. VILLAGE OF DORCHESTER
                       Cite as 312 Neb. 792
different circumstances: (1) where the Legislature expressly
declares in explicit statutory language its intent to preempt
municipal ordinances, (2) where the Legislature’s intent to
preempt municipal ordinances may be inferred from a compre-
hensive scheme of legislation, and (3) where a municipal ordi-
nance actually conflicts with state law. See id. REO, however,
has not made a preemption argument of any kind, let alone
shown that the ordinance is preempted under the recognized
categories discussed above.
   We find no error in the district court’s rejection of REO’s
claim that the ordinance violated Nebraska public policy.

Plain Error.
   Finally, we come to REO’s argument that the district court
committed plain error. Here, REO contends that the village
lacked the statutory authority to enact the ordinance. And while
REO concedes that it did not raise this issue before the district
court, it asserts that the district court nonetheless plainly erred
by finding that the village had the statutory authority to enact
the ordinance. We disagree.
   Plain error is error plainly evident from the record and
of such a nature that to leave it uncorrected would result in
damage to the integrity, reputation, or fairness of the judicial
process. North Star Mut. Ins. Co. v. Miller, 311 Neb. 941, 977
N.W.2d 195 (2022). While REO assigns that the district court
erred by finding that the village had the statutory authority to
enact the ordinance, the district court did not expressly con-
sider that issue. That is not surprising given REO’s concession
that it did not raise the issue of the village’s statutory authority
to enact the ordinance in the district court.
   To the extent REO claims the district court committed plain
error by not finding that the village lacked statutory author-
ity, we would still disagree. As noted above, the district court
resolved the case on the parties’ cross-motions for summary
judgment. We have held, however, that a court may not enter a
summary judgment on an issue not presented by the pleadings.
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See, e.g., Green v. Box Butte General Hosp., 284 Neb. 243,
818 N.W.2d 589 (2012). Because the district court could not
properly enter summary judgment on an issue REO concedes
it did not raise in the district court, the district court obviously
did not commit plain error by not doing so.

                       CONCLUSION
   We find no error in the district court’s entry of summary
judgment in favor of the village and against REO. Accordingly,
we affirm.
                                                  Affirmed.

   Papik, J., concurring.
   I agree with the majority opinion in all respects, including
its conclusion that under our current precedent, the ordinance
at issue does not qualify as special legislation prohibited by
article III, § 18, of the Nebraska Constitution. I write sepa-
rately, however, to suggest that certain aspects of our precedent
in this area may not be consistent with the text and original
meaning of that constitutional provision.

Application to Municipal Ordinances.
   I have more than one concern with our current special leg-
islation precedent. The first is whether the limits on special
legislation expressed in article III, § 18, properly apply to
municipal ordinances like the one challenged in this case. This
court held that a municipal ordinance violated article III, § 18,
as early as 1964. See Midwest Employers Council, Inc. v. City
of Omaha, 177 Neb. 877, 131 N.W.2d 609 (1964). We have
since said on numerous occasions that article III, § 18, applies
to municipal ordinances. See, e.g., Dowd Grain Co. v. County
of Sarpy, 291 Neb. 620, 867 N.W.2d 599 (2015); D-CO, Inc. v.
City of La Vista, 285 Neb. 676, 829 N.W.2d 105 (2013). But,
as far as I can tell, we have never explored whether there is a
principled basis for interpreting the text of article III, § 18, to
do so. I am skeptical such a basis exists.
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   Article III, § 18, provides that “[t]he Legislature shall not
pass local or special laws” in several enumerated circum-
stances. (Emphasis supplied.) After that list of enumerated
circumstances, article III, § 18, states as follows:
      Provided, that notwithstanding any other provisions of
      this Constitution, the Legislature shall have authority
      to separately define and classify loans and installment
      sales, to establish maximum rates within classifications
      of loans or installment sales which it establishes, and to
      regulate with respect thereto. In all other cases where a
      general law can be made applicable, no special law shall
      be enacted.
(Second emphasis supplied.)
   Article III, § 18, thus contains three rules for three categories
of cases: (1) an absolute prohibition on local or special laws
in the specifically enumerated circumstances, (2) an explicit
authorization of certain special legislation regarding loans and
installment sales, and (3) for all other cases, a prohibition on
special laws if “a general law can be made applicable.” For
ease of reference, I will refer to these provisions respectively
as “the absolute prohibition,” “the loans and installment sales
exception,” and “the catchall prohibition.”
   I can discern no textual basis for concluding that the abso-
lute prohibition applies to municipal ordinances. The text pro-
vides that only “the Legislature” shall not pass local or special
laws in the enumerated circumstances. No mention is made of
acts of other branches or levels of government.
   As for the catchall prohibition, perhaps one could muster an
argument that it applies to municipal ordinances by emphasiz-
ing that the sentence in which it appears does not expressly
refer to the Legislature. But while the catchall prohibition
does not refer to any enacting authority, it immediately fol-
lows the absolute prohibition and the loans and installments
sales exception, both of which expressly refer only to the
Legislature. This context suggests to me that all of article
III, § 18, is aimed at laws passed by the Legislature. If that
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context were not enough, the placement of this constitutional
provision in article III, the article of the Nebraska Constitution
discussing the enactment of statewide legislation, provides
yet more evidence that article III, § 18, does not apply to
municipal ordinances. See, also, Robert D. Miewald et al., The
Nebraska State Constitution: A Reference Guide 156 (2d ed.
2009) (observing that text of article III, § 18, appears to limit
its application to Legislature).
   I recognize that this court has held that another provi-
sion of the state Constitution that refers expressly only to the
Legislature—article III, § 19—nonetheless applies to political
subdivisions of the State. See Retired City Civ. Emp. Club of
Omaha v. City of Omaha Emp. Ret. Sys., 199 Neb. 507, 260
N.W.2d 472 (1977). In that case, we reasoned that to hold
otherwise would permit the State to evade this constitutional
restriction by creating a political subdivision and authoriz-
ing it to do what the Nebraska Constitution prohibited the
Legislature from doing.
   Whatever the merits of that reasoning with respect to article
III, § 19, it seems a stretch to apply it to article III, § 18. In
addition to restricting the enactment of “special laws,” the
absolute prohibition of article III, § 18, forbids the enactment
of “local” laws on subjects including “[r]egulating [c]ounty
and [t]ownship offices”; “changing or amending the charter of
any [t]own, [c]ity, or [v]illage”; “[p]roviding for the bonding
of cities, towns, precincts, school districts or other munici-
palities”; and “[p]roviding for the management of [p]ublic
[s]chools.” If article III, § 18, applies to political subdivisions,
its terms would appear to prevent those political subdivisions
from governing themselves in several key areas. No such
problems arise if article III, § 18, is interpreted to apply only
to the Legislature.

Special Legislation Test.
   I also have a more general concern about our special leg-
islation jurisprudence: I question whether the test we use to
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identify “special laws” is consistent with the original meaning
of that term.
   Nebraska’s article III, § 18, is far from unique. Similar
provisions are found in the legislative articles of approx-
imately 30 other state constitutions. See Anthony Schutz,
State Constitutional Restrictions on Special Legislation as
Structural Restraints, 40 J. Legis. 39 (2013). A number of
jurists who have examined the history of such provisions have
concluded that the restrictions on “special laws” would have
been originally understood as restricting a then-common legis-
lative practice of passing legislation that, by its terms, applied
only to an individual person, corporation, or other entity.
See, Laurance B. VanMeter, Reconsideration of Kentucky’s
Prohibition of Special and Local Legislation, 109 Ky. L.J. 523,
524 (2021) (contending that original understanding of special
legislation prohibited by Kentucky constitution was legisla-
tion that “refer[red] only to a particular individual or entity”);
Schutz, 40 J. Legis. at 58 (contending that “the primary focus
of these provisions was on laws that identified an object and
singled it out for special treatment”); Robert M. Ireland, The
Problem of Local, Private, and Special Legislation in the
Nineteenth-Century United States, 46 Am. J. Legal Hist. 271(2004). Under this conception, examples of special legislation
would be acts granting a legal remedy or benefit to a specifi-
cally identified party. See, also, Calloway Cty. Sheriff ’s Dep’t
v. Woodall, 607 S.W.3d 557, 572 (Ky. 2020) (concluding that
original understanding of local or special legislation is legisla-
tion that “applies exclusively to particular places or particu-
lar persons”).
   If these scholars are correct about the original understand-
ing of the term “special laws,” our special legislation test
may be due for reconsideration. We have held that a legisla-
tive act will be found to constitute special legislation if it
creates an arbitrary and unreasonable method of classifica-
tion. See D-CO, Inc. v. City of La Vista, 285 Neb. 676, 829
N.W.2d 105 (2013). But a statute could create an unreasonable
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classification and be nothing like the type of individualized
statutes the scholars cited above contend were the original tar-
get of special legislation prohibitions. Taking this case as the
basis for an example, if a statute unreasonably or arbitrarily
treats property owners and property renters differently and
without sufficient justification, it would be special legislation
under our current precedent, but it is difficult to see how such
a statute looks anything like a law that singles out a specifi-
cally identified party for special treatment.
   Instead of policing individualized legislation, it seems to
me that our current special legislation precedent’s focus on
the reasonableness of classifications provides an avenue for
parties to obtain something akin to heightened equal protec-
tion review. Our precedent says that to withstand a special
legislation challenge, a legislative classification “must rest
upon some reason of public policy, some substantial difference
in circumstances, which would naturally suggest the justice or
expediency of diverse legislation regarding the objects to be
classified.” Dowd Grain Co. v. County of Sarpy, 291 Neb. 620,
628, 867 N.W.2d 599, 606 (2015). To my ears, that sounds a
lot like the intermediate scrutiny test developed by the U.S.
Supreme Court under which certain types of classifications
“must serve important governmental objectives and must be
substantially related to achievement of those objectives.” See,
e.g., Friehe v. Schaad, 249 Neb. 825, 832, 545 N.W.2d 740,
746 (1996).
   We have, I acknowledge, asserted that the focus of our spe-
cial legislation test is different from the tests used to evaluate
equal protection challenges. Specifically, we have said the
following:
      The analysis under a special legislation inquiry focuses
      on the Legislature’s purpose in creating the class and
      asks if there is a substantial difference of circumstances
      to suggest the expediency of diverse legislation. This
      is different from an equal protection analysis under
      which the state interest in legislation is compared to the
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      statutory means selected by the Legislature to accomplish
      that purpose.
Gourley v. Nebraska Methodist Health Sys., 265 Neb. 918, 939,
663 N.W.2d 43, 66 (2003).
   With all due respect, I am not sure I grasp the difference the
foregoing quote purports to identify. Instead, I am sympathetic
to the view of a group of commentators who have called the
distinction identified above “somewhat fleeting.” Miewald et
al., supra at 159.
   To the extent our special legislation jurisprudence allows
parties to obtain something like intermediate scrutiny equal
protection review by alleging that a classification is spe-
cial legislation, it is effectively a more expansive Equal
Protection Clause. Unless a legislative classification jeop-
ardizes the exercise of a fundamental right or categorizes
on the basis of an inherently suspect characteristic, an equal
protection challenge to that classification is analyzed using
the deferential rational basis standard. See REO Enters. v.
Village of Dorchester, 306 Neb. 683, 947 N.W.2d 480 (2020).
But this limitation does not apply to challenges brought to
legislation under article III, § 18: One need not allege the
jeopardization of a fundamental right or the use of a sus-
pect classification to trigger the arguably heightened review
required by our article III, § 18, precedent. It is not clear
to me, however, that the text or history of article III, § 18,
suggests that this provision should be policing the reason-
ableness of legislative classifications at all, let alone under a
heightened standard of scrutiny. See Schutz, 40 J. Legis. at
55 (“[t]he text of special-legislation provisions reveals little
in terms of a concern for substantive equality, whether it is
the minoritarian concerns of the mid- to late-1800s or some
broader notion of equality”).

Conclusion.
   No party in this case asked us to reconsider whether article
III, § 18, properly applies to municipal ordinances. Neither
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were we asked to reconsider the tests we have developed to
identify special legislation under that constitutional provision.
In the absence of such arguments, the majority’s decision
to analyze this case under our current precedent makes per-
fect sense.
   That said, this court has emphasized that the “main inquiry”
in interpreting the Nebraska Constitution is the original
meaning of its provisions. See State ex rel. State Railway
Commission v. Ramsey, 151 Neb. 333, 340, 37 N.W.2d 502,
507 (1949). We have also stressed the importance of adhering
to the text of constitutional provisions. See id. For the reasons
discussed in this concurrence, I believe our precedent under
article III, § 18, may not be entirely consistent with that pro-
vision’s original meaning and text. In an appropriate case, I
would be open to reconsidering that precedent.
